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1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    HANNAH R. LABAREE, Bar # 294338
     Assistant Federal Defender
3    Counsel Designated for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
6    Attorneys for Defendant
     LYNN FERRELL SMITH
7
8                                   UNITED STATES DISTRICT COURT
9                               EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                     Case No. 2:12-cr-255 GEB
12                     Plaintiff,                  NOTICE TO SET BRIEFING SCHEDULE
                                                   AND MOTION HEARING; [PROPOSED]
13          v.                                     ORDER
14   LYNN FERRELL SMITH,
                                                   Judge: Honorable GARLAND E. BURRELL
15                     Defendant.
16
17          Defendant, Lynn F. Smith, by and through his attorney, Assistant Federal Defender
18   Hannah R. Labaree and plaintiff, United States of America, by and through its counsel, Assistant
19   U.S. Attorney Richard Bender, hereby stipulate to set the briefing schedule regarding the Motion

20   to Reduce Sentence pursuant to 18 U.S.C. § 3582(c)(2) as follows:

21          Government Opposition                 March 3, 2016
22
            Defense Response                      March 8, 2016
23
24          The parties further stipulate that the hearing shall be heard on March 18, 2016 at 9:00

25   a.m. before the Honorable Garland E. Burrell, Jr.

26
     IT IS SO STIPULATED.
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                                                     1
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1                                      Respectfully submitted,
2                                      HEATHER E. WILLIAMS
3                                      Federal Defender

4    DATED: February 4, 2016           /s/ Hannah R. Labaree
                                       HANNAH R. LABAREE
5                                      Assistant Federal Defendant
6                                      Attorneys for Defendant
7                                      LYNN F. SMITH

8
     DATED: February 4, 2016           BENJAMIN B. WAGNER
9                                      United States Attorney
10
                                       /s/ Richard Bender
11                                     RICHARD BENDER
                                       Assistant United States Attorney
12                                     Attorney for Plaintiff
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1                                                  ORDER
2           IT IS SO ORDERED that the parties briefing schedule is adopted. The government
3    opposition shall be filed no later than March 3, 2016 and the defense reply shall be filed no later
4    than March 8, 2016. The hearing is scheduled for March 18, 2016 at 9:00 a.m.
5    Dated: February 4, 2016
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